           CASE 0:16-cr-00339-MJD-BRT Doc. 1 Filed 12/20/16 Page 1 of 11



                            I.INITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


 I.INITED STATES OF AMEzuCA.

                         Plaintiff,

                    v.
                                                               aR/A43f //rnhkfnn
                                                      INDICTMENT
 PRESTON E. FORTHLIN.
 ABDINASIRM. ABIKAR                                   18 U.S.C.   $ 1349
 ALIM.ABIKA&
 DANA S. COMEAUX,
 ABDISALAN A. HUSSEIN.
 CARLOS P. LLINA, and
 SA}IAL A. WARSAME.

                         Defendants.

       THE I.TNITED STATES GRAND JURY CHARGES:

                                          INTRODUCTION

       1   .    From at least in or about 201 0 through in or about December 20 I 5, Defendant

PRESTON E. FORTHUN,              a    Doctor of Chiropractic, participated in a scheme with others

to   defraud automobile insurance companies              by submitting claims and receiving
reimbursements through his chiropractic clinic for chiropractic services that either were

not medically necessary or were not rendered. The services prescribed and purportedly

provided by FORTHUN lyere not determined by medical necessity or the physical

condition      of   each patient and were, instead, designed          to   fraudulently maximize

reimbursement from the patients' automobile insurance companies. To induce patients to

show up to chiropractic appointments for medically unnecessary services, FORTHUN

made illegal payments to patient recruiters, known as 'orunners,'o typically paying each
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           CASE 0:16-cr-00339-MJD-BRT Doc. 1 Filed 12/20/16 Page 2 of 11

U.S. v. FORTHUN. eral.


runner $1,000 to $1,500 per automobile accident patient, to bring those patients to his

clinics for services, often withholding those payments until the patients had.attended         a

minimum threshold number of treatment sessions. The runners, in tum, induced patients

into attending these unnecessary treatment sessions by paying illegal kickbacks to the

patients. FORTHUN then billed automobile insurance companies for these fraudulent

claims.

                             GENERAL ALLEGATIONS

      At all times relevant to this indictment:

                           Relevant Enfities and Individuals

      2.       Comprehensive Rehab    -   West and Comprehensive Rehab         -   East were two

chiropractic clinics in Minneapolis, Minnesota (collectively, "Comprehensive Rehab").

          3.   Defendant PRESTON          E. FORTHUN, a          resident   of     Bloomington,

Minnesota, was    a Doctor of Chiropractic, registered with       State   of   Minnesota, was

employed at Comprehensive Rehab, and was a fifty percent owner of Comprehensive

Rehab Centers of MN, which operated the Comprehensive Rehab clinics.

      4.       Unindicted Co-Conspirator   #l   was a Doctor of Chiropractic, registered with

the State of Minnesota, was employed at Comprehensive Rehab, and was the other fifty

percent owner of Comprehensive Rehab Centers of MN.

          5.   FORTHUN and Unindicted Co-Conspirator #1 submitted and caused to be

submitted to automobile insurance companies claims for chiropractic and rehabilitation

services that were not medically necessary and were not provided and made and caused to

be made illegal payments for the referral of patients to Comprehensive Rehab.
        CASE 0:16-cr-00339-MJD-BRT Doc. 1 Filed 12/20/16 Page 3 of 11

U.S. v. FORTHUN. er a/.


      6.       Defendant ABDINASIR         M. ABIKAR, a             resident   of   Minneapolis,

Minaesota, was a runner employed by PRESTON                 E. FORTHUN, Unindicted          Co-

Conspirator   # 1, and   Comprehensive Rehab. ABDINASIR        ABIKAR recruited automobile

accident victims to show up for appointments at Comprehensive Rehab, received illegal

payments for recruiting these patients, and made illegal payments to patients to induce

them to continue receiving medically unnecessary chiropractic services.

      7.       Defendant    ALI M. ABIKAR,     a resident   of Edina, Minnesota, was a runner

employed      by   PRESTON       E,   FORTHUN, Unindicted Co-Conspirator #1,                 and

Comprehensive Rehab.        ALI ABIKAR    recruited automobile accident victims to show up

for appointments at Comprehensive Rehab, received illegal payments for recruiting these

patients, and made illegal payments to patients      to induce them to continue receiving

medically unnecessary chiropractic services.

       8.      Defendant     DA|{A S. COMEAUX, a resident of Brooklyn                    Center,

Minnesota, was a runner employed        by PRESTON E. F'ORTHUN, Unindicted                   Co-

Conspirator #1, and Comprehensive Rehab. COMEAUX recruited automobile accident

victims to show up for appointments at Comprehensive Rehab, received illegal payments

for recruiting these patients, and made illegal payments to patients to induce them to

continue receiving medically unnecessary chiropractic services.

      9.       Defendant ABDISALAN          A.   HUSSEIN,       a   resident   of   Minneapolis,

Minnesota, was a runner employed         by PRESTON E. FORTHUN, Unindicted                   Co-

Conspirator #1, and Comprehensive Rehab. HUSSEIN recruited automobile accident

victims lo show up for appointments at Comprehensive Rehab, received illegal payments
           CASE 0:16-cr-00339-MJD-BRT Doc. 1 Filed 12/20/16 Page 4 of 11

U.S. v. FORTHUN. atal.


for recruiting these patients, and made illegal payments to patients to induce them to

continue receiving medically unnecessary chiropractic services

       10.      Defendant CARLOS P. LUNA, a resident of Minneapolis, Minnesota, was

a runner employed by PRESTON E. FORTHUN, Unindicted Co-Conspirator #1, and

Comprehensive Rehab.      LUNA recruited automobile accident victims to show up for

appointments at Comprehensive Rehab, received illegal payments for recruiting these

patients, and made illegal payments to patients to induce them       to continue receiving

medically unnecessary chiropractic services.

       I   l.   Defendant SAHAL A. WARSAME, a resident of Minneapolis, Minnesota,

was a runner employed by PRESTON E. FORTHUN, Unindicted Co-Conspirator #1, and

Comprehensive Rehab. WARSAME recruited automobile accident victims to show up

for appointments at Comprehensive Rehab, received illegal payments for recruiting these

patients, and made illegal payments to patients to induce them       to continue receiving

medically unnecessary chiropractic services.

                     Minnesotaos'5No-Faultoo Automobile Insurance

       12.      The Minnesota No-Fault Automobile Insurance Act (the "No-Fault Act"),

mandated that every vehicle registered in the State of Minnesota be covered by "no-fault"

automobile insurance. The No-Fault Act also required that automobile insurance carriers

(each being an "Insurer," or collectively the oolnsurers") issue policies that comply with

various requirements. rcluding providing minimum coverage of $20,000             in   medical

expense benefits and $20,000 in income loss, replacement services loss, funeral expense

loss, survivor's economic loss, and survivor's replacement services loss benefits, to victims
         CASE 0:16-cr-00339-MJD-BRT Doc. 1 Filed 12/20/16 Page 5 of 11

U.S, v. FORTHIIN. et a/.


of automobile accidents. The No-Fault Act required that Insurers provide this coverage

and pay these benefits regardless of which party is at fault for the automobile accident.

Among the medical expense benefits that an Insurer was required to reimburse were

chiropractic services.

       13.    Insurers providing coverage under the No-Fault Act constituted a oohealth

care benefit program," as defined by   Title l8 United States Code, Section 24(b).

       14.     The No-Fault Act prohibited health care providers, including chiropractors,

from initiating direct contact with any individual who suffered an injury as a result ofan

automobile accident, speciffing that the prohibited direct contact included contact by any

empioyee, agent, or third party acting on behalf of the health care provideq including

individuals referred to as "cappers," 'orunners," or "steerers." Minnesota laws also

expressly prohibited the employment of runners, cappers, or steerets (hereinafter, "runner"

or oorunners"), defining each such term to mean "a person who for a pecuniary gain directly

procures   or solicits prospective   patients through telephonic, electronic,     or   written

communication, or in-person contact, ai the direction of, or in cooperation with, a health

care provider when the person knows or has reason to know that the provider's purpose is

to perform or obtain services or benefits under or relating to a contact of motor vehicle

insurance." Mn. Stat. $ 609.612 Subd. 1(c). Any claims for services rendered by        a   health

                                                                 ooare
care provider that resulted from the use           of a runner           noncompensable and

unenforceable as a matter of lavt." Id. Subd. 2.
          CASE 0:16-cr-00339-MJD-BRT Doc. 1 Filed 12/20/16 Page 6 of 11

U.S. v. FORTHLIN" et ai.


                            The No-FauIt Insurance Fraud Scheme

        15.     In order to take advantage of the provisions of the No-Fault Act that required

reimbursement        of   chiropractic services, PRESTON          E.   FORTHUN        focused

Comprehensive Rehab's business on automobile accident victims and struchred it in a way

that would maximize both the number of automobile accident patients seen at the clinic

and the number of visits and treatments each patient would receive.

         16.    To increase the patient volume at Comprehensive Rehab, in violation of

Minnesota State Law, PRESTON E. FORTHUN and Unindicted Co-Conspirator                 #l   paid

and caused to be paid illegal kickbacks         to   runners, including   to ABDINASIR M.

ABIKAR, ALI M. ABIKAR, DANA S. COMEAU& ABDISALAII A. ITUSSEIN,

CARLOS P. LUNA, and SAHAL A. WARSAME, in exchange for the referral of

automobile accident victims to Comprehensive Rehab. PRESTON E. FORTHUN and

Unindicted Co-Conspirator #1 generally paid the runners, including ABDINASIR M.

ABIKAR, ALI M. ABIKAR, DANA S. COMEAUX, ABDISALAN A. HUSSEIN,

CARLOS P. LUNA, and SAHAL A. WARSAME, a kickback of between $1,000 and

$1,500 per patient ref'erral.

         17,    To ensure that he and Comprehensive Rehab would maximize profits when

billing the services to the Insurers, PRESTON E. FORTHUN and Unindicted Co-

Conspirator    #l   withheld kickback payments until after the referred patient had completed

a   minimum threshold number of chiropractic appointments at Comprehensive Rehab, thus

ensuring that ABDINASIR          M. ABIKAR, ALI M. ABIKAR, DANA S. COMEAUX,

ABDISALAN A. HUSSEIN. CARLOS P. LUNA" SAHAL A. WARSAME and other
         CASE 0:16-cr-00339-MJD-BRT Doc. 1 Filed 12/20/16 Page 7 of 11

U.S. v. FORTHUN. er ai.


runners would require the automobile accident patients that they referred to retum for

multiple visits.

        18,     To induce patients to go to Comprehensive Rehab for services and to

continue attending medically unnecessary sessions                  at    Comprehensive Rehab,

ABDINASIR M. ABIKAR, ALI M, ABIKAR, DANA S, COMEAUX, ABDISALAN

A. HUSSEIN, CARLOS P. LUNA, SAIIAL A. WARSAME and other runners paid cash

kickbacks directly to the patients. In other instances, patients not affiiiated with any ofthe

runners requested kickbacks, and PRESTON                  E. FORTHUN and Unindicted Co-
Conspirator #1 paid cash kickbacks directly to these patients.

        f9.     To conceal the true nature of the illegal            payments, PRESTON E.

FORTHUN and Unindicted Co-Conspirator               #l   wrote checks to the runners and falsely

described those checks on the memo lines as payments for services such as "transportation"'

or "marketing." FORTHUN and Unindicted Co-Conspirator               #l   also concealed the illegal

kickbacks by making many of these payments in cash, by taking out substantial cash

withdrawals or writing large checks to "Cash" from various bank accounts traceable to

Comprehensive Rehab. During the period from 2012 through 2015, FORTHUN and

Unindicted Co-Conspirator #1 withdrew over $448,000 in cash from accounts traceable to

Comprehensive Rehab.

        2A.     Regardless     of the physical condition of       each patient, PRESTON E.

F   ORTHUN prescribed     a   similar, and often identical, protocol of treatment for each patient,

seeking to maximize the number of visits that each patient would make to Comprehensive

Rehab,   to   exhaust the available No-Fault benefits        for each patient, and to maximize
         CASE 0:16-cr-00339-MJD-BRT Doc. 1 Filed 12/20/16 Page 8 of 11

U.S. v. FORTHUN. et a/,


reimbursement for FORTHUN and Comprehensive Rehab. FORTHUN prescribed and

performed these services for automobile accident patients without consideration of the

medical necessity of these treatments.

       21.     PRESTON E. FORTHUN then submitted and caused to be submitted to the

Insurers claims for these services that were not medically necassary and, in other instances,

were not provided, With each such claim submission to the various lnsurers, FORTHUN

and Comprehensive Rehab represented that the services for which reimbursement was

being sought were provided and were medically necessary.

       22.     PRESTON E. FORTHUN also submitted and caused to be submitted to the

Insurers claims   for   services that were provided as a result       of kickback payments to

ABDINASIR M. ABIKA& ALI M. ABIKAR, DANA S. COMEAUX, ABDISALAN

A. HUSSEIN, CARLOS P. LUNA, SAHAL A, WARSAME and other runners and failed

to disclose this material fact to the Insurers.

       23.     The lnsurers paid millions of dollars to PRESTON E. FORTHUN and

Comprehensive Rehab as a result of these false and fraudulent claims submissions.



                                           COUNT   1
                          (Conspiracy to Commit Health Care Fraud)

       24.     The allegations set forth in paragraphs   1   through 23 ofthis Indictment are re-

alleged as if fully set forth herein.
          CASE 0:16-cr-00339-MJD-BRT Doc. 1 Filed 12/20/16 Page 9 of 11

U.S. v. FORTHUN. eral.


         25.    From at least in or about 2010 and continuing through in or about December

2015, in the State and District of Minnesota and elsewhere, the defendants,


                                     PRESTON E. FORTHUN,
                                     ABDINASIR M. ABIKAR.
                                        ALI M. ABIKAR,
                                       DANAS. COMEAUX,
                                     ABDISALAN A. HUSSEIN.
                                      CARLOS P. LUNA, and
                                      SAHAL A. WARSAME,

did knowingly and willfully conspire, combine, and agree with each other and with other

persons known and unknown to the Grand Jury to execute and attempt to execute a scheme

and artifice to defraud a health care benefit program, and to obtain, by means of false and

fraudulent pretenses, representations, and promises, money and property owned by, and

under the custody and control of, a health care benefit program, in connection with the

delivery ofand payment for health caxe benefits, items, and services, in violation of Title

18,   United States Code, Section 1347.

         All in violation of Title    18. United States Code. Sections 1349.

                                             COUNT 2
                                 (Conspiracy to Commit Mail Fraud)

         26.    The allegations set forth in paragraphs I through 23 ofthis Indictment are re-

alleged as   if fully   set forth herein.

         27,    From at least in or about 2010 and continuing through in or about December

2015, in the State and District of Minnesota and elsewhere, the defendants,

                                      PRESTON E. FORTHUN,
                                     ABDINASIRM. ABIKAR
                                        ALI M, ABIKAR.
        CASE 0:16-cr-00339-MJD-BRT Doc. 1 Filed 12/20/16 Page 10 of 11

U.S. v. FORTHLIN, et a/.


                                       DANA S. COMEAUX.
                                     ABDISALAN A. HUSSEIN.
                                      CARLOS P. LUNA, and
                                      SAHALA. WARSAME,

did knowingly and willfully conspire, combine, and agroe with each other and with other

persons known and unknown to the Grand Jury to commit mail fraud, in violation of Title

18, United States Code, Section 1341.

       All   in violation of Title 18, United States Code, Section 1349.

                                 FORT'EITURE ALLEGATIONS

       28.      Counts   1 and   2 ofthis Indictment are hereby realleged and incorporated as   if
fully set forth herein by reference, for the purpose of alleging forfeiture pursuant to

Title 18, United States Code, Sections 981(aXl)(C) and 982(aX7), and Title 28, United

States Code, Section 2461(c).

       29.      Upon conviction ofthe offenses alleged in Counts 1-2 of this Indictment, the

defendant shall forfeit to the United States pursuant to Title 18, United States Code, Section

982(a)(7) and Title 18, United States Code, Section 981(a)(lXC), in conjunction with Title

28, United States Code, Section 2461(c), all property, real or personal, that constitutes or

is derived" directly or indirectly, from gross proceeds traceable to the commission of the

offenses charged in Counts       I   and2, respectively.




                                                   10
        CASE 0:16-cr-00339-MJD-BRT Doc. 1 Filed 12/20/16 Page 11 of 11
U.S. v. FORTHLN. er a/.


       30. If     any of the above-described forfeitable property is unavailable for

forfeiture, the United States intends to seek the forfeiture of substitute property as provided

for in Title 21, United States Code, Section 853(p), as incorporated by litle 18, United

States Code, Section 982(b)(1) and Title 28, United States Code, Section 2461(c).



                                       A TRUE BILL




LINITED STATES ATTORNEY                            FOREPERSON




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